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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    JOSHUA RAY HYATT                                         CIVIL ACTION

    VERSUS                                                     NO. 19-12967

    SHERIFF LELAND J. FALCON ET                            SECTION “R” (2)
    AL.



                           ORDER AND REASONS


        Plaintiff Joshua Hyatt’s complaint under 42 U.S.C. § 1983 was referred

to Magistrate Judge Currault for a Report and Recommendation (“R&R”).1

Magistrate Judge Currault recommended dismissal of plaintiff’s state law

tort claims under 28 U.S.C. § 1367(c) and dismissal of plaintiff’s claims

against defendants Falcon, Rodrigue, Walker, Tosh, Ory, and Thomas as

frivolous under 28 U.S.C. § 1915(e)(2) and 42 U.S.C. § 1997e(c)(1). In

addition, Magistrate Judge Currault recommends that plaintiff’s excessive

force claims against defendants Andras and Schmill, and plaintiff’s

bystander liability claim against defendant Andras, be stayed and the matter

administratively closed.




1      See R. Doc. 33.
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      Plaintiff did not object to the R&R. Therefore, this Court reviews the

R&R for clear error. See Fed. R. Civ. P. 72(b) advisory committee’s note

(1983) (“When no timely objection is filed, the court need only satisfy itself

that there is no clear error on the face of the record in order to accept the

recommendation.”). The Court finds no clear error. Therefore, the Court

adopts Magistrate Judge Currault’s R&R as its opinion. Accordingly,



IT IS ORDERED that plaintiff’s complaint as to any state law tort, negligence

or medical malpractice claim be DISMISSED WITHOUT PREJUDICE for

failure to exhaust administrative remedies under 28 U.S.C. § 1367(c).



IT IS FURTHER ORDERED that plaintiff’s Section 1983 claims as to

defendants Falcon, Rodrigue, Walker, Tosh, Ory, and Thomas are

DISMISSED WITH PREJUDICE as legally frivolous and for failure to state a

claim under 28 U.S.C. § 1915(e)(2) and 42 U.S.C. § 1997e(c)(1).



IT IS FURTHER ORDERED that plaintiff’s Section 1983 excessive force

claims against defendants Andras and Schmill and his bystander liability

claim against Andras be STAYED and the matter CLOSED for administrative

and statistical purposes, to be reopened upon properly filed motion by any


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party within 30 days of the issuance of the state courts’ final ruling or

judgment on plaintiff’s state law criminal charges of resisting arrest with

force or violence. Plaintiff is instructed that failure to file the motion to

reopen in a timely fashion could waive his opportunity to proceed with this

civil action.




       New Orleans, Louisiana, this _____
                                     18th day of September, 2020.


                     _____________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




                                     3
